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 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
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 9     Ekaterina Kunitskaia,                             No. CV-25-01846-PHX-DJH (ASB)
10                   Petitioner,                         ORDER
11     v.
12     David R Rivas,
13                   Respondent.
14
15           Petitioner filed this action on May 29, 2025, challenging the President’s invocation
16    of 8 U.S.C. § 212(f) to restrict her entry to the United States and her ability to seek asylum

17    pursuant to 8 C.F.R. § 235.3. The Court ordered expedited briefing on her Petition. (Doc.
18    4.) And while her Petition further requested emergency injunctive relief, the Court noted

19    Petitioner did not file a separate motion outlining the relevant standard for seeking

20    injunctive relief. (Id.) Petitioner has now filed a request to stay her removal pending
21    resolution of her underlying petition. (Doc. 8.) The Court construes the request for a stay
22    as a motion for temporary restraining order or preliminary injunction pursuant to Rule 65.

23           In its June 2, 2025, Order the Court noted a recent decision in this District

24    determining “[t]he Proclamation [] likely lacks any statutory or constitutional authority

25    and, resultingly, does not prevent Plaintiff from pursuing a final determination on her

26    asylum claim.” Fatemeh Tabatabaeifar, v. Kika Scott, et al., CV-25-01238-PHX-GMS
27    (MTM), 2025 WL 1397114, at *9 (D. Ariz. May 14, 2025). (Doc. 4.) The Court finds the
28    decision in Tabatabaeifar persuasive. Because removal would deprive Petitioner of her
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 1    right to seek asylum, she has alleged that it is probable that she would suffer irreparable
 2    harm absent a stay. She has also shown that she has a substantial case on the merits, without
 3    prejudice to Respondents demonstrating the contrary. Lastly, the balance of hardships tips
 4    sharply in Petitioner’s favor. See Nken v. Holder, 556 U.S. 418, 434 (2009). A stay will
 5    maintain the status quo until Respondents have had an opportunity to brief the Motion for
 6    Preliminary Injunction and will facilitate a considered review of the parties’ arguments by
 7    the Court and a reasoned decision on the issues presented.
 8           IT IS THEREFORE ORDERED Petitioner’s Motion for Stay of Removal
 9    (Doc. 8) is granted.    Respondents are enjoined from removing Petitioner Ekaterina
10    Kunitskaia (A# 249-141-136) from the United States pending further order of this Court.
11    Petitioner’s request for a Preliminary Injunction remains pending.
12           IT IS FURTHER ORDERED the Clerk of Court must immediately transmit by
13    email a copy of this Order and a copy of the Petition to the United States Attorney for the
14    District of Arizona, to the attention of Katherine Branch at katherine.branch@usdoj.gov,
15    Melissa Kroeger at melissa.kroeger@usdoj.gov, and Lon Leavitt at lon.leavitt@usdoj.gov.
16           IT IS FURTHER ORDERED Counsel for Respondents must file a response to the
17    Motion for Preliminary Injunction no later than Monday June 9, 2025. Petitioner may file
18    a Reply no later than Wednesday, June 11, 2025.
19           Dated this 3rd day of June, 2025.
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22                                                 Honorable Diane J. Humetewa
23                                                 United States District Judge

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